          Case 2:20-cr-01827-AM Document 13 Filed 12/09/20 Page 1 of 3              FILED
                                                                                 December 09, 2020
                                                                              CLERK, U.S. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT                                   SAJ
                                                                           BY:________________________________
                             WESTERN DISTRICT OF TEXAS                                            DEPUTY

                                  DEL RIO DIVISION

UNITED STATES OF AMERICA                        §      CAUSE NO.:        DR-20-CR-01827-AM
                                                §
                                                §      INDICTMENT
v.                                              §
                                                §      [VIO: COUNT ONE: 8 U.S.C. §§
                                                §      1324(a)(1)(A)(v)(I) & (B)(i) Conspiracy
BRANDON MAZARIEGOS                              §      to Transport Illegal Aliens.]
                                                §
                                                §

THE GRAND JURY CHARGES:

                                         COUNT ONE
                           [8 U.S.C. §§ 1324(a)(1)(A)(v)(I) & (B)(i)]

       On or about November 14, 2020, in the Western District of Texas, Defendant,

                                  BRANDON MAZARIEGOS,

did knowingly and intentionally combine, conspire, confederate and agree with others known and

unknown, to commit the following offense against the United States: to transport and move, and

attempt to transport and move, by means of transportation or otherwise, aliens who entered and

remained in the United States in violation of law, knowing and in reckless disregard of the fact

said aliens came to, entered, and remained in the United States in violation of law, and in

furtherance of such violation of law, in violation of Title 8, United States Code, Sections

1324(a)(1)(A)(v)(I) and (B)(i).

                                                    A TRUE BILL
                                               ORIGINAL SIGNATURE REDACTED PURSUANT TO
                                                       E-GOVERNMENT ACT OF 2002

                                                    FOREPERSON
          Case 2:20-cr-01827-AM Document 13 Filed 12/09/20 Page 2 of 3




GREGG N. SOFER
United States Attorney

By: ______________________________
   JESSE M. ESHKOL
   Assistant United States Attorney
          Case 2:20-cr-01827-AM Document 13 Filed 12/09/20 Page 3 of 3




SEALED:
UNSEALED: XX
                                   PERSONAL DATA SHEET
                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     DEL RIO DIVISION

COUNTY: DIMMIT                            USAO #: 2020R08925
DATE: DECEMBER 9, 2020               MAG. CT. #: DR20-01958M
AUSA: JESSE M. ESHKOL
DEFENDANT: BRANDON MAZARIEGOS
CITIZENSHIP: UNITED STATES
INTERPRETER NEEDED: NO
DEFENSE ATTORNEY: JAIME J. ZAMPIEROLLO-VILA
ADDRESS OF ATTORNEY: 2205 VETERANS BLVD., SUITE A-2, DEL RIO, TX 78840
DEFENDANT IS: DETAINED                    DATE OF ARREST: NOVEMBER 14, 2020
BENCH WARRANT NEEDED: NO
PROBATION OFFICER: N/A
NAME AND ADDRESS OF SURETY: N/A
YOUTH CORRECTIONS ACT APPLICABLE: NO
PROSECUTION BY: INDICTMENT
OFFENSE: (Code & Description): Count 1: 8 U.S.C. §§ 1324(a)(1)(A)(v)(I) & (B)(i) - Conspiracy
to Transport Illegal Aliens.
OFFENSE IS: FELONY
MAXIMUM SENTENCE: 10 years’ imprisonment; up to $250,000 fine; up to 3 years of
supervised release; $100 mandatory special assessment; $5,000 special assessment non-indigent
for each count of conviction.
PENALTY IS MANDATORY: YES & NO
REMARKS: See above
W/DT-CR-3
